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IN THE UNITED s'rATEs DISTRICT COURT 05 "\
FOR THE WESTERN DISTRICT or TENNESSEE ny `
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DAle A. WILLIAMS, dower
Plaintiff,
vs. No. 05-1030-T/An
CoRRECTIONS CORPORATION oF
AMERICA, et al.,
Defendants.

 

ORDER TO COl\(/§PLY WITH PLRA
R
PAY FULL $ 150 CIVIL FILING FEE

 

Plaintiff David A. Williams, Tennessee Department of Correction prisoner number
334807, an inmate at the Whiteville Correctional Facility in Whiteville, Tennessee, filed a
p_r_o g complaint pursuant to 42 U.S.C. § 1983 on February 7, 2005.

Under the Prison Litigation Reform Act of 1995 (“PLRA”), 28 U. S.C. § 1915(a)-(b),
all prisoners bringing a civil action must pay the full filing fee of S 1 50 required by 28 U.S .C.
§ l9l4(a).l The statute merely provides the prisoner the opportunity to make a
“downpayment” of a partial filing fee and pay the remainder in installments §e_e_ Mc_Gor_e
v. Wrigglesworth, 114 F.3d 601, 604 (6th Cir. 1997) (“[w]hen an inmate seeks pauper
status, the only issue is whether the inmate pays the entire fee at the initiation of the
proceeding or over a period of time under an installment plan. Prisoners are no longer

entitled to a Waiver of fees and costs.”).

 

1 Effective March 7, 2005, the civil filing fee was increased to $250. Because this action was filed prior to
that date, the plaintiff is only liable for the 3150 filing fee.

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In order to take advantage of the installment procedures, a prisoner plaintiff must
properly complete and submit to the district court, along with the complaint, either Form 4
of the Appendix of Forms found in the Federal Rules of Appellate Procedure, or an affidavit

that contains the same detailed information found in Form 4. McGore, 1 14 F.3d at 605. The

 

prisoner must also submit a certified prison trust fund account statement, showing all activity
in his account for the six months preceding the filing of the complaint, and specifically
showing:

l) the average monthly deposits, and

2) the average monthly balance
for the six months prior to submission of the complaint, and

3) the account balance when the complaint was submitted

In this case, the plaintiff submitted an i__n f`o_rrna_ pa_u}£ri§ affidavit that did not contain
a certification by the trust fund officer. He also has not submitted a certified trust fund
account statement Therefore, at the present time, plaintiff is not eligible to take advantage
of the installment payment procedures of § 1915(b). Plaintiff is, however, liable for the full
3150 filing fee, which accrued at the moment the complaint was filed. Accordingly, plaintiff
is hereby ORDERED to submit an i_n m Mp_er§ affidavit and a certified copy of his
trust fund account statement or the full S150 civil filing fee to the following address within
thirty (30) days after the entry of this order:

Clerk, United States D_istrict Court, Western District of Tennessee, 262 U.S.
Courthouse, lll S. nghland Ave., Jackson, TN 38301

If plaintiff needs additional time to file the required documents, he may request one

thirty-day extension of time from this Court. McGore, 114 F.3d at 605. If plaintiff fails to

 

file the required documentation, the Court will assess the entire filing fee, without regard to
the installment payment procedures, and will dismiss the action, pursuant to Fed. R. Civ. P.

41(b), for failure to prosecute McGore, 114 F.3d at 605. If dismissed under these

 

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circumstances, the case will not be reinstated despite the subsequent payment of the full
filing fee and regardless of any request for pauper status.
If plaintiff timely submits the proper documentation and the Court finds that plaintiff
is indeed indigent, then he may take advantage of the installment procedures of § 1915(b).
In such case, plaintiff will be able to make an initial partial payment equal to 20% of the
greater of the average monthly deposits to his trust account for the past six months or the
average monthly balance in his account for the past six months. After collection of the initial
partial filing fee, the remaining balance will be collected in monthly installments equal to
20% of the income credited to the plaintiffs account during the preceding months. These
monthly payments, however, will be Withdrawn only when plaintiff’s account balance
exceeds $10.
The Clerk is ORDERED to provide the plaintiff a copy of the prisoner i_n

fortna pauperis affidavit form along with this order.

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Notice of Distribution

This notice confirms a copy of the document docketed as number 4 in
case 1:05-CV-01030 was distributed by fax, mail, or direct printing on
May 16, 2005 to the parties listed.

 

David Williams

W.C.F.A.

334807

P.O. Box 679

Whiteville, TN 38075--067

Honorable .l ames Todd
US DISTRICT COURT

